  Case 22-40503          Doc 87      Filed 05/27/22 Entered 05/27/22 15:58:51
                                       Document     Page 1 of 2                 EOD
                                                                                 Desc Main

                                                                                05/27/2022
                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 IN RE:
                                                   Case No. 22-40503
 SERVICE ONE, LLC                                  Chapter 11
                                                   (Subchapter V)
                                    Debtor

             AGREED ORDER REGARDING TRUSTEE’S APPLICATION TO
               APPROVE EMPLOYMENT OF ELIZABETH HASTINGS

        ON THIS DAY, CAME ON FOR CONSIDERATION the Trustee’s Application to

Approve Employment of Elizabeth Hastings pursuant to 11 U.S.C. § 327 filed by Mark A.

Weisbart, Subchapter V Trustee in this bankruptcy case. After consideration of the Application

and finding an agreement to limit the Application has been reached with Charles Tomasello, the

terms which are contained herein, it is hereby

        ORDERED that the Trustee’s Application to Approve Employment of Elizabeth Hastings

is hereby GRANTED under the terms contained herein; it is further

        ORDERED that Elizabeth Hasting’s (“Hastings”) employment is approved for the period

of April 21, 2022, through May 20, 2022; it is further

        ORDERED that Trustee is authorized to pay Hastings $10,000.00 for services performed

during this period; it is further

        ORDERED that such payment shall constitute a waiver of any pre-bankruptcy claims of

Hastings in this case.

        IT IS SO ORDERED.

                                                         Signed on 05/27/2022

                                                                                      SD
                                                 HONORABLE BRENDA
                                                 HONORABLE  BRENDA T.
                                                                   T. RHOADES,
                                                                      RHOADES,
                                                 UNITED STATES
                                                 UNITED STATES BANKRUPTCY
                                                               BANKRUPTCY JUDGE
                                                                           JUDGE
 Case 22-40503      Doc 87    Filed 05/27/22 Entered 05/27/22 15:58:51    Desc Main
                                Document     Page 2 of 2



AGREED AS TO FORM
AND SUBSTANCE:

/s/ Mark A. Weisbart                        /s/ Patrick J. Schurr
Mark A. Weisbart                            Patrick J. Schurr
Texas Bar No. 21102650                      Texas Bar No. 17853530
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